    Case 3:12-cr-04677-AJB       Document 53       Filed 04/08/13    PageID.110       Page 1 of 1



                           UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
                                                                    \3   <



                                                                                       ; "0-'1",'1   '

UNITED STATES OF AMERICA,                          CASE NO. 12CR4677-AJB-~02

                          Plaintiff,
                 vs.                                JUDGMENT OF DISMISSAL
MAYRA ALEJANDRA OROZCO, (02)

                          Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

 X__ of the offense(s}
__                            as charged in the Information:


      21:841(a)(1); 18:2 - Possession of Methamphetamine with Intent to Distribute; Aiding and Abetting



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: March 29, 2013


                                                    United States District Judge
